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                 Jenny L. Flores, et al. v. William P. Barr, et al.
                     Case No. CV 85-4544-DMG (AGRx)

             Exhibit Index to Plaintiffs’ Reply to Defendants’
 Supplemental Opposition to Order to Show Cause re Preliminary Injunction

                           Exhibits Relating to ORR

    Exhibit                           Exhibit Description
      A        Declaration of Dr. Julie DeAun Graves, dated April 22, 2020.
      B        Declaration of Dr. Amy J. Cohen, dated April 21, 2020.
      C        Declaration of Anthony Enriquez, dated April 22, 2020.
      D        Declaration of Ana Raquel Devereaux, dated April 22, 2020.
      E        Declaration of Clare Murphy Shaw, dated April 21, 2020.
      F        Declaration of Ashley Huebner, dated April 21, 2020.
      G        Declaration of Claudia R. Cubas, dated April 21, 2020.
      H        Declaration of Elisa Gahng, dated April 21, 2020.
      I        Declaration of Maria J. Bocanegra, dated April 22, 2020.
      J        Declaration of D.V.V.C., dated April 21, 2020.
      K        Declaration of E.R.V.R., dated April 5, 2020.
      L        Declaration of Carlos Holguín, dated April 22, 2020.

                            Exhibits Relating to ICE

    Exhibit                           Exhibit Description
      M        Declaration of Peter Schey, dated April 22, 2020.
      N        Declaration of Daisy O. Felt, dated April 22, 2020.

                                Cowlitz Exhibits

    Exhibit                           Exhibit Description
      O        Declaration of Samantha Ratcliffe, dated April 21, 2020.
      P        Declaration of A.F.P.P, dated April 17, 2020.
      Q        Declaration of A.P.P., dated April 17, 2020.
      R        Declaration of B.B.B., dated April 17, 2020.
      S        Declaration of M.E.B.R., dated April 17, 2020.
      T        Declaration of X.E.S., dated April 17, 2020.
      U        Declaration of M.D.J.S., dated April 18, 2020.
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                             Berks FRC Exhibits

    Exhibit                           Exhibit Description
      V        Declaration of Bridget Cambria, dated April 21, 2020.
      W        Declaration of B.L., dated April 21, 2020.
      X        Declaration of E.O., dated April 21, 2020.
      Y        Declaration of E.G., dated April 21, 2020.
      Z        Declaration of P.M., dated April 21, 2020.
     AA        Declaration of G.S., dated April 21, 2020.

                          South Texas FRC Exhibits

    Exhibit                            Exhibit Description
      BB       Declaration of Shalyn Fluharty, dated April 22, 2020.
      CC       Declaration of A.D.L., dated April 20, 2020.
     DD        Declaration of A.L.V., dated April 20, 2020.
      EE       Declaration of C.C.G., dated April 20, 2020.
      FF       Declaration of K.L.N.E., dated April 20, 2020.
     GG        Declaration of D.P.R., dated April 20, 2020.
     HH        Declaration of I.M.A.D., dated April 20, 2020.
       II      Declaration of J.S.P., dated April 21, 2020.
      JJ       Declaration of J.F.S.M., dated April 20, 2020.
     KK        Declaration of L.O.R., dated April 21, 2020.
      LL       Declaration of L.G.G., dated April 20, 2020.
     MM        Declaration of M.G.D.E., dated April 20, 2020.
     NN        Declaration of M.A.A., dated April 21, 2020.
     OO        Declaration of N.B.G.F., dated April 20, 2020.
      PP       Declaration of R.L.A., dated April 21, 2020.
     QQ        Declaration of R.P.F., dated April 21, 2020.
      RR       Declaration of S.L.R., dated April 20, 2020.
      SS       Declaration of S.L.V., dated April 20, 2020.
      TT       Declaration of Y.E.S., dated April 21, 2020.
     UU        Declaration of Y.O.T., dated April 21, 2020.
     VV        Declaration of A.C.O., dated April 21, 2020.
     WW        Declaration of C.G.C.N., dated April 21, 2020.
     XX        Declaration of I.P.F.L., dated April 21, 2020.
     YY        Declaration of M.A.G., dated April 21, 2020.
      ZZ       Declaration of N.M.L., dated April 21, 2020.
     AAA       Declaration of R.N.L.F., dated April 21, 2020.

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     BBB       Declaration of E.M.E.C., dated April 21, 2020.
     CCC       Declaration of M.R.C.D., dated April 21, 2020.
     DDD       Declaration of M.L.R.A., dated April 21, 2020.
     EEE       Declaration of M.C.M., dated April 21, 2020.
     FFF       Declaration of S.G.H., dated April 21, 2020.
     GGG       Declaration of Y.E.V., dated April 21, 2020.

                            Karnes FRC Exhibits

    Exhibit                           Exhibit Description
     HHH       Declaration of Andrea Meza, dated April 21, 2020.
      III      Declaration of Javier O. Hidalgo, dated April 21, 2020.
      JJJ      Declaration of H.N, dated April 21, 2020.
     KKK       Declaration of M.S., dated April 21, 2020.
     LLL       Declaration of A.M.P., dated April 21, 2020.
    MMM        Declaration of J.S.C., dated April 21, 2020.
     NNN       Declaration of N.V.G., dated April 21, 2020.

                             ICE Expert Exhibits

    Exhibit                          Exhibit Description
     OOO       Declaration of Dr. Katherine Peeler, dated April 22, 2020.
     PPP       Declaration of Dr. Homer Venters, dated April 9, 2020.

                                    General

    Exhibit                           Exhibit Description
     QQQ       Reporter’s Transcript of Video Proceedings, March 27, 2020.




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